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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-0740V
                                    Filed: October 18, 2019
                                        UNPUBLISHED


    STACI MCTEIGUE,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Attorneys’ Fees and Costs
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Julia Marter Collison, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Corcoran, Chief Special Master:

       On May 24, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza vaccine received on November 15,
2016. Petition at 1. On August 21, 2019, a decision was issued awarding
compensation to petitioner based on the respondent’s proffer. ECF No. 32.

       On September 27, 2019, petitioner filed a motion for attorneys’ fees and costs.
ECF No. 36. Petitioner requests attorneys’ fees in the amount of $17,008.50 and
attorneys’ costs in the amount of $790.08. Id. at 2. In accordance with General Order

1 It is my intent to post this decision on the United States Court of Federal Claims' website. This means
the decision will be available to anyone with access to the Internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I find that the
identified material fits within this definition, I will redact such material from public access. Because this
unpublished decision contains a reasoned explanation for the action in this case, I am required to post it
on the United States Court of Federal Claims' website in accordance with the E-Government Act of 2002.
44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government Services).

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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#9, petitioner's counsel represents that petitioner incurred no out-of-pocket expenses.
Id. at 2. Thus, the total amount requested is $17,798.58.

        Respondent did not file a response.

       I have reviewed the billing records submitted with petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the
requested hours or rates.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. §
15(e). Based on the reasonableness of petitioner’s request, I hereby GRANT
petitioner’s motion for attorneys’ fees and costs.

      Accordingly, petitioner is awarded the total amount of $17,798.583 as a
lump sum in the form of a check jointly payable to petitioner and petitioner’s
counsel Maximillian J. Muller.

        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                          s/Brian H. Corcoran
                                                          Brian H. Corcoran
                                                          Chief Special Master




3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                     2
